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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

     UBIQUITI INC., f/k/a Ubiquiti Networks,
     Inc.,

                                Plaintiff,
                                                             Civil Action No.: 1:18-cv-05369
                          v.
                                                             JURY TRIAL DEMANDED
     CAMBIUM NETWORKS, INC.;
     CAMBIUM NETWORKS, LTD.; BLIP
                                                             Hon. J. Gary S. Feinerman
     NETWORKS, LLC; WINNCOM
     TECHNOLOGIES, INC.; SAKID
     AHMED; and DMITRY MOISEEV

                                Defendants.

               PLAINTIFF’S MOTION FOR LEAVE TO FILE UNDER SEAL

        Pursuant to Local Rule 26.2 and the Agreed Confidentiality Order entered in this case

(Dkt. No. 102, as modified in Dkt. No. 154, collectively the “Protective Order”), Plaintiff

Ubiquiti, Inc. (“Plaintiff”), by and through its undersigned counsel, respectfully requests that the

Court grant Plaintiff’s Motion for Leave to File Under Seal (the “Motion”) an unredacted version

of the brief and copies of Exhibits A, B, C & D attached to Plaintiff’s Reply in Support of

Plaintiff’s Motion to Compel De-Designation of Defendants’ Attorneys’ Eyes Only Production

and for Sanctions (“Reply”). 1 In support of the Motion, Plaintiff states as follows:

        WHEREAS, the documents to be attached as Exhibits A, B, C & D to the Reply each

contain documents that have been produced by Defendants in this action with confidentiality

designations of “CONFIDENTIAL RESTRICTED – ATTORNEYS’ EYES ONLY” or




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  Pursuant to the terms of the Fourth Amended General Order In Re: Coronavirus COVID-19 Public
Emergency (Dkt. No. 131), Plaintiff has noticed this motion for presentment at the earliest available date
of July 15, 2020 – which date may be further subject to any individual orders entered by this Court with
respect to the scheduling of such presentment hearings.
                                                    1
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“OUTSIDE ATTORNEYS’ EYES ONLY – CONFIDENTIAL SOURCE CODE” under the

Protective Order.

         WHEREAS, certain sections of the Reply brief contain descriptions of the contents of

documents that have been produced by Defendants in this action with confidentiality

designations of “CONFIDENTIAL RESTRICTED – ATTORNEYS’ EYES ONLY” or

“OUTSIDE ATTORNEYS’ EYES ONLY – CONFIDENTIAL SOURCE CODE” under the

Protective Order, which sections Plaintiff has redacted from the publicly filed version of the

Reply.

         WHEREAS, Plaintiff seeks to file the above-referenced documents under seal in

accordance with the terms of the Protective Order pending the Court’s ruling on its Motion to

Compel De-Designation of Defendants’ Attorneys’ Eyes Only Production and for Sanctions.

         WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that the Court

grant leave to file the above listed documents and an unredacted version of its Reply brief under

seal.



Dated: June 8, 2020                         Respectfully submitted by:

                                            FOX SWIBEL LEVIN & CARROLL LLP


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                                   Chicago, IL 60606

                                   Attorneys for Plaintiff Ubiquiti Inc., f/k/a Ubiquiti
                                   Networks, Inc.




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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on June 8, 2020, he caused the foregoing
document to be electronically filed with the Clerk of the United States District Court for the
Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which is also
served upon counsel for all parties of record.


                                                   /s/    Erik J. Ives
                                                          Erik J. Ives




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